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            EXHIBIT B 10
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            IN THE DISTRICT OF COLUMBIA COURT OF APPEALS



In the Matter of                    )                                                  Clerk of the Court
                                                                              Received 02/15/2022 05:49 PM
                                    )                                         Filed 02/15/2022 05:49 PM
CONFIDENTIAL (J.B.C.), ESQ.         )
                                    )               NO. 22-BS-0059
      Respondent.                   )
                                    )               UNDER SEAL
A Member of the Bar of the District )
 Of Columbia Court of Appeals       )
                                    )
      Defendant.                    )

           CONSENT MOTION TO EXCEED LENGTH LIMITATIONS

     Comes now the Respondent, pursuant to Rule 27, and moves for permission to

exceed the normal length limitations for a response brief. Respondent asserts as follows:

     1.     Respondent is preparing to file a response to Office of Disciplinary Counsel’s

          (ODC) Motion to Enforce Subpoena.

     2.     Respondent is a former Senate confirmed political appointee of the last

          Presidential Administration. ODC’s investigation of Respondent comes as a

          result of a highly unusual request from a sitting United Senator of the opposite

          political party.

     3.     The ODC’s investigation and resulting subpoena raise a number of legal

          issues, both straightforward and novel.      Some of these require extended

          discussion.

     4.     In addition to the legal issues, Respondent raises a service of process

          argument which requires a relatively detailed discussion of communications

          between the parties leading up to ODC’s Motion to Enforce.

     5.     After extensive editing by Respondent’s counsel, it has been determined that
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          the response will exceed the normal 20-page limitation by approximately 8

          pages.

     6.     Respondent therefore asks for a modest waiver from this Court of the normal

          page limit.

     7.     Disciplinary counsel does not object to this request.

     For the foregoing reasons, Respondent respectfully requests that this allow him to

file a response brief approximately 28 pages in length.




                                                     Respectfully Submitted,

                                                     By:

                                                     /s/ Charles Burnham
                                                     Charles Burnham DC Bar # 1003464
                                                     Attorney for the Respondent
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                      CERTIFICATE OF SERVICE

 I have served this filing on opposing counsel via the Court’s efiling system.



                                              Respectfully Submitted,



                                              By: /s/ Charles Burnham
                                              Charles Burnham
                                              DC Bar # 1003464.
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